 Case 2:07-md-01873-KDE-MBN Document 196-6 Filed 05/18/08 Page 1 of 10




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
                       NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                SECTION "N-4"
                                            JUDGE ENGELHARDT
                                            MAG. JUDGE ROBY




         DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
     IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
    CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                           U.S. EXHIBIT NO. 3
          Case 2:07-md-01873-KDE-MBN Document 196-6 Filed 05/18/08 Page 2 of 10

                                               FEMA09-000344




Federal Register Notice
Billing Code 9110-10-P

DEPARTMENT OF HOMELAND SECURITY

Federal Emergency Management Agency

[FEMA-1603-DR]

’ lJoUisiana; Majo~ Disaster and Related Determinations

AGENCY: Federal Emergency Management Agency, Emergency.Preparedness and Response Directorate,
Department of Homeland Security.

  2TION: Notice.

S~Y: This is a notice of the Pre’sidential declaration of a major disasterfoi the State of Louisiana (FEMA-
1603-DR), dated August 29, 2005, and related determinations..

EFFECTIVE DATE: August 29, 2005.

FOR FURTHER INFORMATION CONTACT: Magda Ruiz, Recovery Division, Federal Emergency Management
A~gency, Waslfington, DC 20472, (202) 646-2705.

SUPPLEMENTARY INFORRIATION: Notice is hereby given that, ina letter dated August 29, 2005, the President
declared a major disaster under the authority of the Robert T. Stafford Disaster Relief and Emergency Assistance
Act, 42 U.S.C. §§ 5121-5206 (the Stafford Act), as follows:

      I have de{ermined that the dfimage in certain areas of the State of Louisiana, resulting from Hurricane
      Katrina begirm_ing on August 29, 2005, and continuing, is of sufficient severity and magnitude to
      warrant a major disaster declaration under the Robert T. Stafford Disaster Relief andEmergency ......
      Assistance Act, 42 U.S.C. §§ 5121-5206 (the Stafford Act). Therefore, I declare that such a major
      disaster exists in the State of L0uisiana.
            Case 2:07-md-01873-KDE-MBN Document 196-6 Filed 05/18/08 Page 3 of 10

                                                   FEMA09-000345



       .In order to provide Federal assistance, you are hereby authorized to allocate .from fur_n, ds available for
       these purposes such amounts as you find n’eeessary for Federal disaster assistance and administrative
        expenses.

       You are authorized to provide Individual Assistance and ass.istance for debris removal and emergency
       protective measures (Categories A and B) under the Public Assistance program, and Hazard Mitigation
       in the designated areas; and any other forms of assistance under the Stafford Act you may deem
       appropriate subject.to completion of Preliminary Damage Assessments (PDAs), unless you determine
       the incident is of such unusual severity and magnitude that PDAs are not required.to detemaine.the need
       for supplemental Federal assistance pursuant to 44 C.F.R. 206.33(d). Direct Federal assistance is
       authorized.

        Consistent with the requirement that Federal assistance be supplemental, an3/Federal funds provided
        under the Stafford Act for Public Assistance, Hazard M~tigation and the Other Needs Assistance under
        Section 4.08 of the Stafford Act will be limited to 75 percent of the total eligible costs. Fo~: a period of
        up to 72 hours, you are authorized to fund assistance for debris removal and emergency protective
        measures, including direct Federal assistance, at 100 percent of the totaleligible co~ts. Federal funding
        for debris removal will remain at 75 percent.

        Further, you are authorized to make changes to this declaration to the extent allowable under the
        Stafford Act.

............. ~ time period prescribed for the implementation of section 310(a), Priority to Certain Applications for Public
   Facility and Public Housing Assistance, 42 U.S.C. 5153, shall befor a period not to exceed six months after the date
   ofthis declaration.

 The Federal Emrrgency Management Agency ~EMA) hereby gives notice that pursuant to the authority vested in
 the Under Secretary for Emergency Preparedness and Response, Department of Homeland Security, under
 Executive Order 12148, as amended, William Lokey, of FEMA is appointed to act as the Federal Coordinating
 Officer for this declared disaster.

 I do hereby determine the following areas of the State of Louisiana t~ have been affected adversely by this declared
 major disaster:

        The parishes of Acadia, Ascension, Assumption, Calcasieu, Cameron, East Baton Rouge, East
        Feliciana, Iberia, Iberville, Jefferson, Jefferson Davis, Lafayette, Lafourche, Livingston, Orleans, Pointe
        Coupee, Plaquemines, St. Barnard, St: Charles, St. Helena, St.. James, St. Jotm, St. Mary, St. Martin, St.
        Tammany, Tangipahoa, Terrebonne, Vermilion,. Washington, West Baton Rouge, and West Feliciana
        for Individual Assistance.

        The parishes of Acadia, Ascension, Assumption, Calcasieu, Cameron, East Baton Rouge, East
        Feliciana, Iberia, Iberville, Jefferson, Jefferson Davis, Lafayette, Lafourche, Livingston, Orleans, Pointe
        Coupee, Plaquemines, St. Barnard, St. Charles, St. Helena, St. James, St. John, Stl Mary, St. Martin, St.
        Tammany, Tangipahoa, Terrebonne, Vermilion, Washington, West Baton Rouge, and West Feliciana
        for Public Assistance Categories A and B (debris removal and emergency protective measures),
           Case 2:07-md-01873-KDE-MBN Document 196-6 Filed 05/18/08 Page 4 of 10

                                                 FEMA09-000346



      including direct Federal assistance. For a period of up to 72 hours, assistance for emergency protective
      measures, .including direct Federal assistance, will be provided at 100 percent of the total eligible costs.
      The period of up to 72 hours at 100 percelit exclnde~ debris removal.

      The parishes of Allen, Avoyelles, Beau.regard, Bienville, Bossier, Caddo, Caldwell, Catahoula,
      Clai.borne, Concordia, Desoto, East Carroll; Evangeline, Franldin, Grant, Jackson, LaSalle, Lincoln,
      Madison, Morehouse, Natchitoches, Ouachita, Rapides, Red River, Richland, Sabine, St. Landry,
      Tensa~, Union, Vernon, Webster, W~st Carroll, and Winn for Public Assistance Category B (emergency
      protective measures), includhag direct Federal assistance, will be provided at 100 percent of the total
      eligible costs.

       The parishes of St. Mary, St. Tammany; and Ouachita in the State of Louisiana are e.lig.ible to apply for
       assistance under the Hazard Mitigation Grant Program.

. (Thd following Catalog of Federal Domestic Assistance Numbers (CFDA) are to be used for reporting mad drawing
  funds: 97.030, Community Disaster Loans; 97.031, Cora Brown Fund Program; 97.032, Crisis Counseling; 97.033,
  Disaster Legal Services Program; 97.034, Disaster Unemployment Assistance (DUA); 97.046, Fire Management
  Assistance; 97.048, Individual and Household Housing; 97.049, Individual and Hbusehold Disaster Housing
  Operations; 97.050 Individual and Household Program-Other Needs, 97.036, Public Assistance Grants; 97.039,
  Hazard Mitigation Grant Program.)



 Michael D. Brown;
 Under Secretary;
 Emergency Preparedness and Response,
 Department of Homeland Security

 Back to Disaster Federal Register Notices for Louisiana Hurricane Katrina
          Case 2:07-md-01873-KDE-MBN Document 196-6 Filed 05/18/08 Page 5 of 10

                                              .FEMA09-000347




        EEM.A

Federal Register Notice
Billing Code 9110-10~P

DEPARTMENT OF HOMELAND SECURITY

Federal Emergency Management Agency

[FEMA-1604-DR]

Mississippi; Major Disaster and Related Determinations

 AGENCY: Federal Emergency Management Agency, Emergency Preparedness and Response Directorate,
...~.e.p,artment of Homeland Security.



SUMMARY: This is a notice of the Presidential declaration of a maj or.disaster for the State’ of Mississippi (FEM_A-
1604-DR), dated August 29, 2005, and related determinations.

EFFECTIVE DATE: August 29, 2005.

FOR FURTHER INFORMATION CONTACT: Magda Ruiz, Recovery Division, Federal Emergency
M~mage-uaae.nt Agency, WasNngton, DC 20472, (202) 6.46-2705.

SUPPLEMENTARY INFORMATION: Notice is hereby given that, in a letter dated August 29, 2005, the President
declared a major disaster under the authority 0fthe Robert T. Stafford Disaster Kelief and.Emergency.Assistance
Act, 42 U.S.C. §§ 5121-5206 (the Stafford Act), as follows:

     I have determined that the damage in certain areas of the State of Mississippi, resulting from Hurricane
     Katrina on August 29, 2005, and continuing, is of suffidient severity and magnitude t.o warrant a major
     disaster declaration under the Robert T. Stafford Disaster Relief and Emergency .Assistance Act, 42 ..............
     U.S.C. §§ 5121-5206 (the Stafford Act). Therefore, I declare that such a major disaster exists in the
     State of Mississippi.

    ’ In order to provide Federal assistance, you are hereby authorized to allocate from funds available for
            Case 2:07-md-01873-KDE-MBN Document 196-6 Filed 05/18/08 Page 6 of 10

                                                     FEMA09-000348


       these purposes such amounts as you find necessary for Federal disaster assistance and administrative
    ~ expenses.
        You are authorized to provide. Individual Assistance and assistance for itebris removal and emergency

        protective measures (Categories A and B) under the Public Assistance program in the designated areas,
        Hazard Mitigation throughout the State, and any other forms of assistance Ul?. der the. Stafford Act you
        .may deem appropriate subject to completion of Preliminary Damage Assessments @DAs), unless you
        determine the incident is of sugh unusual severity and magnitude that PDAs are not required to
        determine the need for supplemental Federal assistance pursuant to 44 C.F.R. 206.33(d). Direct Federal
        assistance is authorized.

        Consistent with the requirement that Federal assistalice be supplemenial, any Federal funds provided
        under the Stafford Act for Public Assistance, Hazard Mitigation, and the Other Needs Assistance under
        Section 408 of the Stafford Act will be limited to 75 percent of.the total eligible costs. For a period of
        up to 72 hours,, you are authorized to fund assistance for emergency protective measures, including
        direct Federal assistance, at 100 percent of the total eligible costs. Federal funding for debris removal
        will remain at 75 percent.                                        ’’

        Further, you are authorized .to make changes to this declaration to the extent allowable under the.
        Stafford Act.

.........Ahty
          i time
               andperiod
                    Pubh~ prescribed
                            Housing for the implementation
                                     Assistalice,           of section
                                                  42 U.S.C. 5153, shall310(a),
                                                                        be for aPriority
                                                                                 period to
                                                                                         notCertain Applications
                                                                                             to exceed six monthsfora~ter
                                                                                                                     Pubhcthe date
..... i5~ this declaration.

  The Federal Emergency Management Agency (FEMA) hereby gives notice that pursuant to the authority vested in
’ the Under Secretary for Emergency Preparedness and Response, Department of Homeland Security, under
¯ .Executive Order 12148, as amended, William L. Carwile, l]I, of FEMA is appointed to act as the Federal
  Coordinating Officer for this declared disaster..

 I do hereby determine the following areas of the State of Migsissippi to have been affected adversely by this
¯ declared major disaster:

        Amite, Forrest, George, Greene, Hancock, Harrison, Jackson, Lamar, Marion, Pearl River, Perry, Pike,
        Stone, YvTalthall, and Willdnson Counties for Individual Assistance.

        Adams, Amite, Attala~ Chickasaw, Choctaw, Claiborne, Clarke, Clay, Copiah, Co’v;ington, Forrest,
        Franldin, George, Greene, Hancock, Harrison, Hinds, Itawamba, Jackson, Jasper, Jefferson, Jefferson
        Davis, Jones, Kemper, Lamar, Lauderdale, Lawrence, Leake, Lee, Lincoln, Lowndes, Madison, Marion,
        Monroe, Neshoba, Newton, Noxubee, Oktibbeha~ Pearl River, Perry, Pike~ Ranldn, .Scott, Simpson,
        Smith, Stone, Walthall, Warren, Wayne, Webster, Willdnson, and Winston Counties for debris removal
        and emergency protective measures, including direct Federal assistance. For a period of up to 72 hours,
        assistance for emergency protective measures, including direct Federal assistance, will be provided at
        100 percent of the total eligible costs. The period of up to 72 hours at 100 percent excludes debris
          Case 2:07-md-01873-KDE-MBN Document 196-6 Filed 05/18/08 Page 7 of 10

                                               FEMA09-000349


      removal.

      All counties within the State of Mississippi are eligible to apply for assistance under the Hazard
      Mitigation Grant Program.

(The following Catalog of Federal Domestic Assistance Numbers (CFDA) are to be used for reporting and drawing
funds: 97.030,Community Disaster Loans; 97.031, Cora Brown Fund Program; 97.032, Crisis Counseling; 97.Q33,
Disaster Legal Services Program; 97.034, Disaster Unemployment Assistance (DUA); 97.046, Fire Managemgnt
Assistance; 97.048, Individual and Household Housing; 97.049, Individual and Household Disaster Housing
Operation~; 97.050 Individual and Household Program-Other Needs, 97.036, Public Assistance Gra~ts; 97.039,
Hazard Mitigation Grant Program.)

Is/

Michael D. Browa~,
Urtder Secretary,
Emergency Preparednes~ and Response,
Department of Homeland Security..

Back to Disaster Federal Register Notices for Mississippi Hurricane Katrina
          Case 2:07-md-01873-KDE-MBN Document 196-6 Filed 05/18/08 Page 8 of 10

                                              FEMA09-000350




         FEMA
Federal Register Notice
Billing Code 9110-10-P

DEPARTMENT OF HOMELAND SECURITY

Federal Emergency Management Agency

 [FEMA-1605DR]

Alabama; Major Disaster and Related Determinatiotls

 AGENCY: Federal Emergency Managemem Agency, Emergency Preparedness and Respons’e Directorate,
._D.~pattment of Homeland Security.

....
  ~c~TION: Notice.

 SUMMARY: This is a notice of the Presidential declaration of a major disaster for the State of Alabama (FEMA-
 1605-DR), dated August 29, 2005, and related determinations.

 EFFECTIVE DATE: August 29, 2005.

FOR FURTHER INFORMATION CONTACT: Magda Ruiz, RecoveryDivision, Federal Emergency
Manage-,ment Agency, Washington, DC 20472, (202) 646-2705.

 SUPPLEMENTARY INFORMATION: Notice is hereby given that, in a letter dated August 29, 2005, the President
 declared a major disaster trader the authority of the Robert T. S~afford Disaster Relief and Emergency Assistance
 Act, 42 U.S.C. §§ 5121-5206 (the Stafford Act), as follows:

      I have detelaNned that the damage in certain areas of the State of Alabama, resulting from Hurricane
      Katrina on August 29, 2005, and continuing, is of suf-fieient severity and magnitude to warrant a major
      disaster declaration under the Robert T. Stafford Disaster Relief and Emergency Assistance Act, 42 ............
      U.S.C. § § 5121-5206 (the Stafford Act). Therefore, I declare that such a major disaster exists in the
      State of Alabama.

      In order to provide Federal assistance, you are hereby authorized to allocate from funds available for
          Case 2:07-md-01873-KDE-MBN Document 196-6 Filed 05/18/08 Page 9 of 10

                                                FEMA09-000351


      these purposes such amounts as you find necessary for Federal disaster assistance and administrative
      expenses.

      You are authbrized to provide Individual Assistance and assistance for debris removal and emergency
      protective measures (Categories A and B) under the Public Assistance program in the designated areas,
      Hazard Mitigation throughout the State, and any other forms of assistance under the Stafford Adt you
      may deem appropriate subject to. completion of Pre~nary Damage Assessments &DAs),. unless you
      determine the incident is of such unusual severity and magnitude that PDAs are not required to
      determine the need for supplemental Federal assistance pursuant to 44 C.F.R. 206.33(d). Direct Federal
      assistance is authorized.

      Consistent with the reituh’ement that Federal assistance be supplemental, any Federal funds provided -
      under the Stafford Act for Ptiblic AssistanCe, Hazard Mitigation, and the Other Needs Assistance under
      Section 408 of the Stafford Actwill be limited to 75 pe~bent of the total eligible costs. For a period of
      up to 72 hours, you are authorized to fund assistance for emergency protective measures, including
      direct Federal assistance, at 100 percent of the total eligible costs. Federal funding for debris removal
      will remain at 75 percent.

The time period prescribed for the flrtplementation of section 310(a), Priority to Certain Applications forPublic
Facility and Public Housing Assistance, 42 .U.S.C. 5153, shall be for a period not to exceed six months after the date
of this declaration.

  ,~e Federal Emergency Management Agency (FEMA) hereby gives notice that pursuant to. th~ authority vested in
the Under Secretary for Emergency Preparedness and Response, Department of Homeland Security, under
Executive Order 12148, as amended, Ron Sherman, of FEMA is appointed to act as the Federal Coordinating
Officer for this declared disaster.

I do hereby determine the following areas 0fthe State of Alabama to have been affected adversely by this declared
major disaster:

      Baldwin, Mobile, and Waslfiflgton Counties for Individual Assistance.

      Baldwin, Clarke, Choctaw, Mobfle~ Sumter, and Washington Counties for Public Assistance Categories
      A and B (debris removal and emergency protective measures), including direct Federal assistance. For a
      period of up to 72 hours, assistance for emergency protective measures, including direct Federal
      assistance, will be provided at 100 percent of the total eligible costs. The period of up to 72 hours at 100
      percent excludes debris removal.

      All counties within the State of Alabama are eligible to apply for assistance under the Hazai:d
      Mitigation Grant.Program. . .....................................................

      (The following Catalog of Federal Domestic Assistance Numbers (CFDA) are to be used for reporting
      and drawing funds: 97.030, Community Disaster Loans; 97.031, Cora Brown Fund Program; 97.032,
      Crisis Counseling; 97.033, Disaster Legal Services Program; 97.034, Disaster Unemployment
         Case 2:07-md-01873-KDE-MBN Document 196-6 Filed 05/18/08 Page 10 of 10

                                             FEMA09-000352


      Assistance (DUA); 97.046, Fire Management Assistance; 97.048, Individual and Household-Housing;
      97.049,.Individual and Household Disaster I-Ieusing Operations; 97.050 Individual andl Household
      Program-Other Needs, 97.036, Pubhc Assistance Grants; 97.039, Hazard Mitigation Grant Program.)

Is/
Michael D. Brown,
Under Secretary,
Emergency Preparedness and Response,
Department of Homeland Security.
Back to Disaster Federal Register Notices for AlabamaHttrricane Katrina




()
